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UNITED STATES DISTRICT COURT 43
DISTRICT OF MAINE

  

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UNITED STATES OF AMERICA ) POR}
)
V. ) Magistrate CaseN 0.
BLAKE D. HAMPE )

MOTION FOR DETENTION

NOW COMES the United States, by and through its attorney, and requests that this Court
detain the defendant pursuant to 18 U.S.C. § 3 142()(1)(A). There is probable cause to believe
that the defendant has violated 18 U.S.C. §§ 2252A(a)(1) and 2252A(a)(5)(B). A violation of
any felony under chapter 110 of Title 18 is a crime of violence. See 18 U.S.C. § 3156(a)(4)(C).

The defendant’s violation of 18 U.S.C. § 2252A(a)(1) subjects him to a presumption that
no condition or combination of conditions will reasonably assure his appearance as required and
the safety of the community. 18 U.S.C. § 3142(e). Any release order must contain, at a
minimum, a condition of electronic monitoring and each of the conditions specified at
subparagraphs (iv), (v), (vi), (vii), and (viii) of 18 U.S.C. § 3142(c)(1)(B). See 18 U.S.C. §
3142(c)(1)(B). The government estimates that it will require % hour on its case for detention.
The government requests.a continuance of three days from the date of the defendant’s initial

appearance for the hearing to be held.

 

Dated: September 28, 2006 Respectfully submitted,
PAULA D. SILSBY
United States Attorney
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F. Todd Lowell File Name: Downy diya. eens
Assistant United States Attorney — Names of Attachments iy

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CERTIFICATE OF SERVICE

 

I, F. Todd Lowell, Assistant United States Attomey, attorney for the United States of
America, hereby certify that I have this day served a copy of the foregoing Motion for Detention
upon Jeffrey Silverstein, Esq., attorney for the defendant, by mailing a copy of same, First Class
Postage Prepaid to his address of

Russell, Silver and Silverstein
145 Exchange Street

Suite 3

Bangor, Maine 04401-6505

— Q—

F. Todd Lowell

Assistant United States Attorney
District of Maine

Margaret Chase Smith Federal Building
202 Harlow Street, Room 111

Bangor, Maine 04401

 

Date: September 28, 2006
